                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )     CASE NO. 3:13-00090
                                                  )     JUDGE SHARP
JUAN MEJIA-MIRANDA [10]                           )
                                                  )

                                        ORDER

       Pending before the Court is Defendant’s Motion to Continue Plea Hearing (Docket No.

203) to which the Government does not oppose.

       The motion is GRANTED and the plea hearing scheduled for September 20, 2013, is

hereby continued to Wednesday, September 25, 2013, at 2:30 p.m.

       It is so ORDERED.



                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




 Case 3:13-cr-00090        Document 204     Filed 09/20/13    Page 1 of 1 PageID #: 746
